                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

BRITTANI DANETTE ATKINS,                   )
      Plaintiff,                           )
                                           )
     v.                                    )
                                           )
HEALTHCARE REVENUE RECOVERY GROUP, L.L.C., )
     Defendant.                            )

           PLAINTIFF BRITTANI ATKINS’ MOTION TO STRIKE DISMISSAL
                           AND TO SET TRIAL DATE

        Plaintiff Ms. Brittani Atkins, by her counsel, respectfully moves the Court to strike its

dismissal of this action and to re-set a trial date. The parties executed a settlement agreement

and the Court dismissed this action without prejudice. However, the Defendant has failed to

comply with its obligations pursuant to that agreement and defense counsel has not responded to

Plaintiff’s counsel’s inquiry. Wherefore, Ms. Atkins respectfully moves the Court to strike its

dismissal and to re-set a trial in this action.

        Respectfully submitted,
        Plaintiff’s, Britani Atkins’s, Counsel
        North & Sedgwick, L.L.C.
by:     /s/ Paúl Camarena
        Paúl Camarena, Esq.
        500 So. Clinton, No. 132
        Chicago, IL 60607
        paulcamarena@paulcamarena.com
        (312) 493-7494
